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 4                     DECLARATION OF MICHAEL T. NORTHEIM

 5                                   ON BEHALF OF

 6                        ANKURA CONSULTING GROUP, LLC.

 7                             REGARDING NOTICE PLAN

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 1   I, Michael T. Northeim, declare and state as follows:

 2          1.      I am a Managing Director at Ankura Consulting Group, LLC, Inc. ("Ankura"). The

 3   following statements are based on my personal knowledge, the information provided to me by

 4   plaintiffs’ counsel and other Ankura employees working on this matter, and records of Ankura

 5   generated and maintained in the usual course of its business. If called on to do so, I could and would

 6   testify competently thereto.

 7          2.      For this matter, Ankura is able and willing to provide Notice services as agreed upon

 8   by the parties and as provided in the preliminary approval of the settlement ("Settlement Agreement"),

 9   if the parties' motion is approved by the court.

10          3.      Ankura, LLC, Inc. is located at 2000 K St NW 12th Floor, Washington, DC 20006.

11          4.      I have more than 10 years of professional experience leveraging analytics to solve

12   complex litigation and class action settlements, specializing in financial, economic, and public health

13   matters. As Managing Director, I am responsible for overseeing notice and settlement administration

14   programs to ensure that all facets of the programs are executed as stipulated in their governing legal

15   agreements. I submit this declaration at the request of Counsel in support of the Motion for

16   Preliminarily Approval of Class Action Settlement.

17

18                      ANKURA’S EXPERIENCE RELEVANT TO THIS CASE

19          5.      Ankura is a leader in the settlement administration industry and has extensive

20   experience administering settlements and providing court approved notice of class actions. Over the

21   past 15 years, we have provided notification and/or settlement administration services in some of the

22   highest-profile and most complex matters. Some of our recent multi-state representative matters

23   include In Re: AT&T Mobility Wireless Data Services Sales Tax Litigation, Case No. 1:10-cv-02278


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 1   (MDL 2147); Financial Services Provider Data Analytics and Remediation Programs (clients

 2   confidential); Belize Real Estate Fraud Receivership; Toys “R” Us Severance Fund; Foreign

 3   Exchange Benchmark Rates Antitrust Litigation; PG&E Subrogation Wildfire Trust; Boeing 737 Max

 4   Crash Victim Beneficiaries Compensation Fund; Cryptocurrency Fund Receivership, and the

 5   Volkswagen TDI 2.0 and 3.0 Clean Diesel Settlements. Ankura offers a wide range of settlement

 6   administrative services for developing, managing and executing all stages of integrated settlement

 7   plans. A copy our company experience is attached as Exhibit A, which provides detailed information

 8   concerning our notice and settlement administration qualifications.

 9

10                                     DIRECT NOTICE CAMPAIGN

11          6.     Ankura understands that in this settlement a Class Member means: “All persons,

12   entities, and corporations who are current U.S. brokerage customers of Schwab or any of its affiliates,

13   including customers who previously held accounts at Ameritrade. The Defendants, its employees,

14   officers, directors, legal representatives, heirs, successors, or wholly or partly owned subsidiaries or

15   affiliates, and the judicial officers or their immediate family members or associated court staff

16   assigned to this case are excluded from the class.”

17          7.     It is also Ankura’s understanding that the parties expect that the Class Members can be

18   identified and located from Defendant’s records. Through our notice program, Ankura will design,

19   print, and send the injunctive notices (by email or physical postcard) to all potential class members

20   for which contact information is available. Given the availability of contact information, it is

21   estimated that 95% -- or 34.2 million -- of these notices will go out via email, whereas 5% -- or 1.8

22   million -- will go out via physical postcard notice.




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 1          8.     Ankura's notice program begins immediately upon receiving the data, with a 30-day

 2   period dedicated to data ingestion, cleansing, analysis, and validation tasks. Email notifications can

 3   begin at the end of this 30-day period, however due to the large volume and to ensure optimal

 4   deliverability, Ankura estimates that it will take 45-60 days to fully distribute all email notifications.

 5   Additionally, Ankura will establish a settlement website within 2 weeks upon receiving a request to

 6   do so. This website will feature an overview of the litigation, issued notices, frequently asked

 7   questions, relevant program documents, and pertinent contact information.

 8          9.     Email Notices: Prior to sending email notices, Ankura will: (1) Run the email notice

 9   text through spam analysis programs to ensure it receives the highest rating to reduce the likelihood

10   that it will be caught in spam filters; (2) Take active and continued steps to maintain our approved list

11   standing with internet service providers by providing an advance alert on significant mailings; (3)

12   Scrub the email addresses to remove from the list any determined to be invalid to optimize throughput

13   of currently active email addresses; (4) Ensure that the email notice is written in plain, inviting

14   language, with an option for unsubscribe, conforms to industry best practice standards, and is

15   designed for optimum readability across multiple devices and platforms; (5) Personalize the emails

16   with the recipient’s name to increase engagement and reduce the chance of the email being marked

17   as spam; (6) Ensure compliance with legal email regulations, predicated by the recipient’s

18   geographical location; and (7) Group emails in batches to avoid a large number of potential bounce-

19   backs that could cause being blacklisted by certain internet service providers.

20          10.    Our team will provide regular email tracking metrics, which will include detailed

21   reports on successful delivery rates, notice view analysis, and click-through rates to the public

22   website. This data will enable us to assess the effectiveness of the email campaign and make any

23   necessary adjustments to improve engagement. Furthermore, any email addresses that result in


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 1   delivery failures will be reviewed and, where possible, corrected to maximize the reach of our

 2   notifications.

 3           11.      A draft of the proposed email notice is attached as Exhibit B.

 4           12.      Postcard Notices: Prior to sending physical postcard notices, Ankura will run the

 5   addresses through the U.S. Postal Service’s National Change of Address (“NCOA”) program and the

 6   Coding Accuracy Support System (“CASS”) certification process to reduce undeliverable mail

 7   counts. Ankura will also ensure that the design of the postcard is eye-catching, and that the important

 8   information is immediately visible. Lastly, Ankura will include a return address for undeliverable

 9   mail, and consider a mechanism to update the contact information based on returned mail

10           13.      Our team will diligently track the delivery status of all physical postcard notices to

11   ensure maximum reach. In cases where mail is returned due to incorrect addresses, we will promptly

12   update our records and coordinate remailing efforts to ensure that every potential class member

13   receives the necessary information. Additionally, we will maintain a detailed log of all returned mail

14   to continuously improve our address verification processes and enhance future mailing accuracy.

15           14.      A draft of the proposed postcard notice is attached as Exhibit C.

16

17                                        CLASS MEMBER SUPPORT

18           15.      With the commencement and execution of this notice program, potential class members

19   may have questions regarding the notices, their legal rights, and implications of the litigation, among

20   other topics. This underscores the need for robust consumer support to ensure clarity and provide

21   timely assistance. Ankura offers support through three facets – (1) public website, (2) interactive

22   voice response (IVR), and (3) helpdesk support – all designed to address the diverse inquiries of

23   potential class members effectively.


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 1          16.    Public Website: Ankura will set up and maintain a dedicated public notice website,

 2   which will remain active for the duration of the program. This website will include an overview of

 3   the litigation, frequently asked questions, associated program documents, and any relevant contact

 4   information. All issued notices will also be accessible on the website. A draft of the proposed Long

 5   Form Notice is attached as Exhibit D. To enhance transparency and engagement, Ankura will provide

 6   detailed reporting on website traffic, including visitor numbers and analytics such as the geographic

 7   location and types of URLs that have accessed the site. The website will be accessible in both English

 8   and Spanish, featuring an easy-to-navigate toggle on the landing page to accommodate a diverse

 9   audience.

10          17.    Interactive Voice Response (IVR): Ankura will set up a class helpline that is equipped

11   with pre-recorded FAQs, allowing class members to access information quickly. The IVR system also

12   provides the option for class members to leave voicemails for callbacks from help desk agents,

13   ensuring that all inquiries are addressed promptly and efficiently within 48 hours. This system is

14   designed to streamline the process of answering common questions while allowing for personalized

15   assistance when needed.

16          18.    Helpdesk Support: Ankura will establish a notice program-specific email address,

17   enabling class members to easily reach out with their questions. Additionally, the website will feature

18   a function for submitting inquiries via an online form, which links directly to the settlement helpdesk

19   support inbox. Ankura's system will track inbound inquiries by subject matter, allowing us to develop

20   pre-coded responses for efficient handling and to identify and escalate trends or issues before they

21   become significant problems.

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1                                              CONCLUSION

2           19.    Based on our settlement administration experience with similar cases, the notice

3    program described herein is consistent with other court-approved notice programs and will provide

4    Class Members with notice of their legal rights and comports with due process requirements.

5           I declare under penalty of perjury under the laws of the United States and the District of

6    Columbia that the foregoing is true and correct.

7

8           Executed on February 4, 2025, at Washington, District of Columbia.

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11                                                ______________________

12                                                      Michael T. Northeim

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                                            EXHIBIT A



                                    RELEVANT EXPERIENCE

       Ankura has a proven track record in providing mass tort and class action services for some

of the highest-profile and most complex matters. By leveraging sophisticated technology to handle

the challenges posed by large classes and datasets, Ankura’s experienced professionals collaborate

closely with all stakeholders to achieve successful outcomes. Our extensive services include

detailed data analysis, claims administration, notice program design, and fund distribution, all

tailored to meet the unique needs of each case. Drawing from our extensive experience, Ankura

proposes a comprehensive settlement program that maximizes notice effectiveness through direct

mailings, emails, and digital communications. We have successfully implemented similar strategies

in previous cases, ensuring effective reach and engagement with class members. Some notable

examples pertaining to notice administration are highlighted below.




In Re: AT&T Mobility Wireless Data Services Sales Tax Litigation, Case No. 1:10-cv-02278

(MDL 2147)

Notice & Settlement Administrator

       Ankura currently serves as the Settlement Administrator for a $1.2 billion settlement fund

       established to reimburse over 20 million business and individual for state sales taxes that

       were collected and remitted by AT&T. The taxes were related to data usage on iPhones and

       were collected in violation of the Internet Tax Freedom Act. 45 states and over 2,300 taxing

       jurisdictions have settled and paid the fund resulting in distributions to over 15 million


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       individuals and businesses. The notification process for former AT&T customers involved

       sending emails and postcards. Initially, emails were sent to over 3.5 million customers, with

       about 1.1 million successfully delivered. The undelivered emails were then converted to

       postcard notifications and mailings were sent to a total of over 9.1 million customers,

       including those who initially had no email addresses and those whose emails were

       undeliverable.




Financial Services Provider Data Analytics and Remediation Programs (clients confidential)

Notice Administrator, Remediation Program Analyst, & Administrator

       Ankura serves as the Notice Administrator for financial services remediation programs,

       expertly managing the full remediation lifecycle across numerous matters. Our role involves

       ingesting and analyzing large volumes of data, sending notice to over 500,000 potential

       claimants, and to investigate and confirm eligibility. Our services include performing skip

       tracing and address research, and setting up a public remediation site equipped with relevant

       program information and interactive tools for consumers to confirm eligibility, refund

       amounts, and affected transactions. Furthermore, Ankura develops and manages a contact

       center, providing voice, email, chat, and webform support to address inquiries, and we also

       track and process returned mail and manage check re-issuance requests efficiently.




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Belize Real Estate Fraud Receivership

Claims Administration, Notice Administrator, & Technology Provider

       Ankura was tasked with overseeing a receivership for a redress plan related to one of the

       largest overseas real estate investment scams in history. Ankura supports the claim review

       process, forensic accounting of the defendant’s records, and consumer outreach. Ankura was

       also responsible for calculating the payment percentages used for redress payments and

       managed the payment process. In its capacity as Notice Administrator, Ankura designed and

       implemented a notice program whereby our team notified more than 1,600 consumers

       around the world regarding their eligibility status, as well as their requests regarding next

       steps with the ongoing sale of the development.




Toys “R” Us Severance Fund

Claims Administration, Notice Administrator, & Technology Provider

       Ankura served as the Claims Administrator for a $20 million dollar fund to pay former

       employees that lost their jobs when Toys “R” Us declared bankruptcy. This involved the

       design and implementation of a notice plan, centralized claims processing system, creating a

       valuation model, the review of over 20,000 claims, and standing up a call center.




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Foreign Exchange Benchmark Rates Antitrust Litigation

Claims & Notice Expert

       Ankura currently provides economic and analytical expertise for an antitrust dispute

       involving sixteen of the world’s largest banks. Ankura oversees the $2 billion settlement

       fund, including the creation of a Plan of Distribution, class member identification, notice,

       damages, and claim estimates. Ankura was deeply involved in the creation of the notice

       packet sent as part of the direct notice process and creation of the overall notice timeline.

       Ankura was also responsible for the intake, consolidation, and generation of final notice list

       from more than 20 different sources and provided oversight and management of the overall

       notice process.




PG&E Subrogation Wildfire Trust

Trustee, Notice Administrator, & Claims Administrator

       Ankura served as the Notice Administrator, Trustee, and Claims Administration for an $11

       billion settlement fund established to compensate insurance companies and hedge funds for

       subrogation claims related to property damages caused by several California wildfires

       including the Camp fire. In less than 1 year, Ankura created the settlement fund entity,

       established claim review procedures, built a custom claims management system, and

       distributed over $9 billion in settlement proceeds to insurers and hedge funds with valid

       subrogation claims. In its role as Notice Administrator, Ankura routinely notified potential

       beneficiaries regarding eligibility requirements, trust deadlines, pending payments, among

       other pertinent updates. In addition, Ankura also controlled the distribution of confidential

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       data for 50,000 subrogation wildfire trust claim data to the Fire Victims Trust and notified

       numerous insurance carriers on a biweekly basis regarding matched claim data as stipulated

       by bankruptcy court order.




Boeing 737 Max Crash Victim Beneficiaries Compensation Fund

Claims Administration, Notice Administrator, & Technology Provider

       Ankura served as the Notice Administrator and Claims Administrator for three settlements

       related to compensating the families of the victims of two Boeing 737 Max crashes. In this

       capacity, Ankura designed and implemented a notice program, centralized claims processing

       system, and reviewed distribution plans per the intestacy laws of over 25 countries.




Cryptocurrency Fund Receivership

Claims Administration, Notice Administrator, & Technology Provider

       A receivership was established in relation to a civil enforcement action following a fraud

       conviction of the manager of several cryptocurrency funds. Ankura is currently engaged to

       develop a notice plan and maintain a public claims portal through which potential claimants

       may learn about the process and file claims for compensation. Ankura provides settlement

       design, forensic accounting, public notice, claims processing, and fund distribution services

       to the Receivership.




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Asbestos Litigation, Bankruptcies & Settlement Trusts

Economic Expert & Settlement Administrator

      Ankura is currently providing expert economic advisory services involving the forecasting

      and quantification of total liability associated with bodily injury due to asbestos

      exposure. Ankura is also responsible for providing several major asbestos settlement trusts

      with liability forecasting services, specialized medical claims audits, claims administration

      and systems and general settlement administration. Ankura leads the design and

      implementation of a centralized claims processing system (“TrustOnline”) that has been

      used to process and pay nearly $25 billion to 5 million claims, represented by more than 800

      firms, to date by overseeing the allocation and distribution of settlement proceeds to

      claimants with asbestos caused injuries such as asbestosis, lung cancer, and mesothelioma.




In re Volkswagen “CleanDiesel” Marketing, Sales Practices, and Products Liability Litigation,

Case No. 3:15-md-02672-CRB (“MDL 2672”)

Claims Supervisor

      Ankura was appointed by the court to serve as the Claims Supervisor for the 2.0L and 3.0L

      Clean Diesel Emissions settlements. In this role Ankura was responsible for overseeing

      Volkswagen’s compliance with the settlement agreement. This included the review and

      valuation of over 550,000 claims, monitoring the vehicle buyback process and the

      Volkswagen call center, reporting on the status of the settlement to the court, and monitoring

      the payment of over $10 billion to eligible claimants. We worked closely with the Plaintiffs’

      Steering Committee, which was comprised of nationally recognized plaintiff attorneys from

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     firms across the US, the defendant, defense counsel, and multiple government

     agencies. Ankura also managed a $327.5 million settlement was processed with Bosch, the

     supplier of the emissions software that was installed in some 2.0-liter and 3.0-liter

     Volkswagen, Audi and Porsche diesel vehicles.




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                                                 EXHIBIT B

                SUMMARY NOTICE OF PROPOSED CLASS ACTION SETTLEMENT

If you are a person, entity, or corporation who is a current U.S. brokerage customer of Schwab or any
of its affiliates, including as a customer who previously held accounts at TD Ameritrade
(“Ameritrade”), your rights may be affected by a pending class action settlement.


This notice is to alert you to a proposed settlement reached with The Charles Schwab Corporation
(“Schwab”) in Jonathan Corrente, et al. v. The Charles Schwab Corporation, No. 4:22-CV-470ALM (E.D.
Tex.) and the injunctive relief contemplated in the proposed settlement, specifically, the implementation of
an antitrust compliance program. The settlement with Schwab will resolve the claim against it in this action.

The United States District Court for the Eastern District of Texas (the “Court”) authorized this notice. The
Court appointed the lawyers listed below to represent the Settlement Class:

                Yavar Bathaee                                         Christopher M. Burke
          BATHAEE DUNNE LLP                                               BURKE LLP
          445 Park Avenue, 9th Floor                             402 West Broadway, Suite 1890
             New York, NY 10022                                       San Diego, CA 92101
              Tel: (332) 322-8835                                      Tel: (619) 369-8244
           yavar@bathaeedunne.com                                       cburke@burke.law

Who Is a Member of the Settlement Class?

Subject to certain exceptions, the Settlement Class consists of all persons, entities, and corporations who are
current U.S. brokerage customers of Schwab or any of its affiliates, including customers who previously held
accounts at Ameritrade.

“Schwab” or “Defendant” means Defendant The Charles Schwab Corporation.

If you are not sure if you are included in the Settlement Class, you can get more information, by visiting
www._________________.com or by calling toll-free 1-XXX-XXX-XXXX (if calling from outside the
United States or Canada, call 1-XXX-XXX-XXXX).

What Is This Lawsuit About?

Plaintiffs allege they were injured as a result of the combination of Schwab and TD Ameritrade Holding
Corporation, in October 2020. Specifically, Plaintiffs allege that the merger decreased competition among
brokers, resulting in Plaintiffs making less money from their trading activity.
Plaintiffs assert a claim under federal antitrust law.

What Does the Settlement Provide?

To settle the claim in this lawsuit, Schwab has agreed to implement an antitrust compliance program to be
designed by a third-party Consultant. This Consultant, to be jointly retained by the Parties, will consist of a
team of attorneys from Fried, Frank, Harris Shriver & Jacobson LLP, including Bernard A. Nigro, Jr.,

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Aleksandr Livshits, and Nihal Patel. If the settlement is approved, all Notice Costs, Court-awarded
attorney’s fees and litigation expenses, any service awards for the class representatives, and any other
expenses approved by the Court will be paid by Schwab.

Settlement Class Members will not receive a payment.

What Are My Rights?

If you are a Settlement Class Member and do not object, you will release certain legal rights against
Defendant and the other released parties, as explained in the Court’s detailed Notice and the Stipulation and
Agreement of Settlement, which are available at www._________________.com. If you do want to object to
the Settlement you must do so by Month XX, 2025. You may object to the Settlement, application for an
award of attorney’s fees and litigation expenses, and/or service awards for Plaintiffs. Information on how to
object is contained in the Court’s detailed Notice, which is available at www._________________.com. No
Settlement Class Members’ damages claims are released in this resolution.

When Is the Fairness Hearing?

The Court will hold a fairness hearing at the United States District Court for the Eastern District of Texas,
Paul Brown United States Courthouse, 101 East Pecan Street, Sherman, Texas 75090, on [DATE] at [TIME]
to consider whether to finally approve the Settlement, award any attorney’s fees and litigation expenses, and
order any service awards for Plaintiffs. You or your lawyer may ask to appear and speak at the hearing at
your own expense, but you do not have to.

          For more information, call toll-free 1-XXX-XXX-XXXX (if calling from outside the
         United States or Canada, call 1-XXX-XXX-XXXX) or visit www.______________.com.




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                                                                                EXHIBIT C
                                                          Notice of Proposed Class Action Settlement
     This notice is to alert you to a proposed settlement reached with The Charles Schwab Corporation (“Schwab”) in Jonathan Corrente, et al. v. The Charles Schwab
     Corporation, No. 4:22-CV-470- ALM (E.D. Tex.) and the injunctive relief contemplated in the proposed settlement, specifically, the implementation of an antitrust
     compliance program. The settlement with Schwab will resolve the claim against it in this action.
     The United States District Court for the Eastern District of Texas (the “Court”) authorized this notice. The Court appointed Yavar Bathaee of BATHAEE DUNNE
     LLP, and Christopher M. Burke of BURKE LLP to represent the Settlement Class.
     Who Is a Member of the Settlement Class?
     Subject to certain exceptions, the Settlement Class consists of all persons, entities, and corporations who are current U.S. brokerage customers of Schwab or any of its
     affiliates, including customers who previously held accounts at Ameritrade.
     “Schwab” or “Defendant” means Defendant The Charles Schwab Corporation.
     If you are not sure if you are included in the Settlement Class, you can get more information, by visiting www.__________.com or by calling toll-free 1-XXX-XXX-
     XXXX (if calling from outside the United States or Canada call 1-XXX-XXX-XXXX).
     What Is This Lawsuit About?
     Plaintiffs allege they were injured as a result of the combination of Schwab and TD Ameritrade Holding Corporation, in October 2020. Specifically, Plaintiffs allege
     that the merger decreased competition among brokers, resulting in Plaintiffs making less money from their trading activity. Plaintiffs assert a claim under federal
     antitrust law.
     What Does the Settlement Provide?
     To settle the claim in this lawsuit, Schwab has agreed to implement an antitrust compliance program to be designed by a third-party Consultant. This Consultant, to
     be jointly retained by the Parties, will consist of a team of attorneys from Fried, Frank, Harris Shriver & Jacobson LLP,
     including Bernard A. Nigro, Jr., Aleksandr Livshits, and Nihal Patel. If the settlement is approved, all Notice Costs, Court-awarded attorney’s fees and litigation
     expenses, any service awards for the class representatives, and any other expenses approved by the Court will be paid by Schwab.
     Settlement Class Members will not receive a payment.
     What Are My Rights?
     If you are a Settlement Class Member and do not object, you will release certain legal rights against Defendant and the other released parties, as explained in the
     Court’s detailed Notice and the Stipulation and Agreement of Settlement, which are available at www.__________.com. If you do want to object to the Settlement
     you must do so by Month XX, 2025. You may object to the Settlement, application for an award of attorney’s fees and litigation expenses, and/or service awards for
     Plaintiffs. Information on how to object is contained in the Court’s detailed Notice, which is available at www.__________.com. No Settlement Class Members’
     damages claims are released in this resolution.
     When Is the Fairness Hearing?
     The Court will hold a fairness hearing at the United States District Court for the Eastern District of Texas, Paul Brown United States Courthouse, 101 East Pecan
     Street, Sherman, Texas 75090, on [DATE] at [TIME] to consider whether to finally approve the Settlement, award any attorney’s fees and litigation expenses, and
     order any service awards for Plaintiffs. You or your lawyer may ask to appear and speak at the hearing at your own expense, but you do not have to.
     For more information, call toll-free 1-XXX-XXX-XXXX (if calling from outside the United States or Canada, call 1-XXX-XXX-XXXX) or visit
     www.__________.com.

                                             Please do not call the Court or the Clerk of the Court for information about the settlements.




                                                                                                                                                                PRESORTED
                                                                                              Corrente, et al. v. Charles Schwab                                 First Class
                                                                                                                                                                 US Postage
                                                                                              50 Corporate Park                                                    PAID
                                                                                              Irvine, CA 92606                                                     PBPS

               SUMMARY NOTICE OF
                                                                                              ELECTRONIC SERVICE REQUESTED
             PROPOSED CLASS ACTION
                  SETTLEMENT

     If you are a person, entity, or corporation                                              <<BARCODE>>
     who is a current U.S. brokerage customer of                                               ID: «ID»
     Schwab or any of its affiliates, including as a                                          «Name»
     customer who previously held accounts at                                                 «Address1» «Address2»
     TD Ameritrade (“Ameritrade”), your rights                                                «City», «State» «Zip»
     may be affected by a pending class action
     settlement.


               Para una notificación en español, visite
                      www.__________.com

               Questions? Call 1-XXX-XXX-XXXX
                 or visit www.__________.com




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                                                EXHIBIT D

                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

 JONATHAN CORRENTE,             et al .,                   Civil Action No. 4:22-CV-470-ALM

                                  Plaintiffs,              Hon. Amos L. Mazzant, III

         v.

 THE CHARLES SCHWAB CORPORATION,

                                  Defendant.


                  NOTICE OF PROPOSED CLASS ACTION SETTLEMENT

PLEASE READ THIS ENTIRE NOTICE CAREFULLY. A UNITED STATES FEDERAL COURT
AUTHORIZED THIS NOTICE. YOUR RIGHTS MAY BE AFFECTED BY THE PROCEEDINGS
IN THIS ACTION. THIS NOTICE ADVISES YOU OF YOUR RIGHTS AND OPTIONS WITH
RESPECT TO THIS ACTION.

To: All persons, entities, and corporations who are current U.S. brokerage customers of The Charles Schwab
Corporation (“Schwab”) or any of its affiliates, including customers who previously held accounts at TD
Ameritrade (“Ameritrade”).

The capitalized terms in these paragraphs, as well as other capitalized terms, are explained or defined below
or in the Stipulation and Agreement of Settlement with Schwab (the “Stipulation”). The Stipulation and the
Court’s Preliminary Approval Order are posted on the Claims Administrator’s website at
www.______________.com (the “Settlement Website”).

This Notice of Pendency of Class Action, Hearing on Proposed Settlement and Attorney’s Fees
Petition, and Right to Object (“Notice”) is given pursuant to Rule 23 of the Federal Rules of Civil
Procedure and an Order of the United States District Court for the Eastern District of Texas (the
“Court”). It is not junk mail, an advertisement, or a solicitation from a lawyer. You have not been
sued.

The purpose of this Notice is to inform you of the Settlement with Schwab in the above-captioned case (the
“Action”).

Please do not contact the Court regarding this Notice. Inquiries concerning this Notice should be
directed to:
                                            Notice Administrator
                                                   Address
                                                   Address
                                            Tel.: 1-XXX-XXXX
              (if calling from outside the United States or Canada, call 1-XXX-XXX-XXXX)


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          Questions? Visit www.                           .com or call 1-XXX-XXX-XXXX
          (if calling from outside the United States or Canada, call 1-XXX-XXX-XXXX)
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                                         Email: ______________
                                        Website: _______________

Plaintiffs allege that the combination of Schwab and TD Ameritrade Holding Corporation, in October 2020,
violated Section 7 of the Clayton Act (15 U.S.C. § 18). Plaintiffs allege that the merger decreased
competition among brokers, resulting in Plaintiffs making less money from their trading activity.

The Court preliminarily approved the Settlement with Schwab on XXXXXX. To resolve this lawsuit,
Schwab agreed to implement an antitrust compliance program to address Plaintiffs’ claims.

The following table contains a summary of your rights and options regarding the Settlement. More detailed
information about your rights and options can be found in the Stipulation, which is available at
www._______________.com (the “Settlement Website”).


                 YOUR LEGAL RIGHTS AND OPTIONS IN THE SETTLEMENT



                              You are automatically part of the Settlement Class if you fit the Settlement
      DO NOTHING              Class description. You will be bound by past and any future Court rulings,
                              including rulings on the Settlement, if approved, and releases.


                              If you wish to object to the Settlement, Attorney’s Fees and Expenses, or
    OBJECT TO THE             Service Awards, you must file a written objection with the Court by
     SETTLEMENT               Month XX, 2025 and serve copies on Co-Lead Counsel and Schwab’s
                              Counsel. See question 13.
                              You may ask the Court for permission to speak at the Fairness Hearing by
       GO TO THE              including such a request in your written objection, which you must file
      SETTLEMENT              with the Court and serve copies of on Co-Lead Counsel and Schwab’s
        HEARING               Counsel, by Month XX, 2025. The Fairness Hearing is scheduled for
                              Month XX, 2025 at TIME. See questions 16 through 18.
   APPEAR THROUGH             You may enter an appearance through your own counsel at your own
      AN ATTORNEY             expense. See question 14.


These rights and options and the deadlines to exercise them are explained in this Notice.

You are receiving this Notice because records indicate that you may be a Settlement Class Member in this
Action because you may be a current brokerage customer of Schwab or any of its affiliates, including as a
former customer of Ameritrade.




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          Questions? Visit www.                           .com or call 1-XXX-XXX-XXXX
          (if calling from outside the United States or Canada, call 1-XXX-XXX-XXXX)
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                                         BASIC INFORMATION

1.        What Is a Class Action Lawsuit?
A class action is a lawsuit in which one or more representative plaintiffs (in this case, Jonathan Corrente,
Charles Shaw, and Leo Williams (collectively, “Plaintiffs”)) bring a lawsuit on behalf of themselves and
other similarly situated persons (i.e., a class) who the representative plaintiffs allege have similar claims
against a defendant. The representative plaintiffs, the court, and counsel appointed to represent the class all
have a responsibility to make sure that the interests of all class members are adequately represented.

Importantly, class members are NOT individually responsible for attorney’s fees or litigation expenses. Any
award of attorney’s fees and litigation expenses will be paid by Schwab.

When a representative plaintiff enters into a settlement with a defendant on behalf of a class, such as the
Settlement with Schwab, the court will require that the members of the class be given notice of the
settlement and an opportunity to be heard with respect to the settlement. The court then conducts a hearing
(called a “Fairness Hearing”) to determine, among other things, if the settlement is fair, reasonable, and
adequate.

2.      Why Did I Get This Notice?
You received this Notice because you requested it or records indicate that you may be a Settlement Class
Member. As a potential Settlement Class Member, you have a right to know about the proposed Settlement
with Schwab before the Court decides whether to approve the Settlement.

This Notice explains the Action, the Settlement, your legal rights, and what benefits the Settlement provides.
The purpose of this Notice is also to inform you of the Fairness Hearing to be held by the Court to consider
the fairness, reasonableness, and adequacy of the Settlement and to consider requests for awards of
attorney’s fees, litigation expenses, and any service awards for Plaintiffs from Schwab.

3.      What Is This Action About?
Plaintiffs allege they have been and will continue to be injured as a result of the combination of Schwab and
Ameritrade in October 2020 in violation of Section 7 of the Clayton Act (15 U.S.C. § 18), a provision of the
federal antitrust laws.

Plaintiffs allege that the merger decreased competition among brokers, resulting in Plaintiffs making less
money from their trading activity.

Plaintiffs allege they suffered an injury of the type that the antitrust laws were intended to prevent.

4.      What Has Happened in This Action?
Plaintiffs filed their Complaint on June 2, 2022. ECF No. 1. On August 29, 2022, Defendant moved to
dismiss the Complaint. ECF No. 18. On February 24, 2023, the Court issued a Memorandum Opinion and
Order denying Defendant’s motion to dismiss. ECF No. 40.

Since 2022, the Parties conducted discovery to investigate the strength of the claims and defenses, including
taking depositions and reviewing voluminous documents. The Parties also consulted with experts.

After extensive, arm’s-length negotiations, including a mediation, the Parties reached an agreement to settle
the Action on December 12, 2024. The Court granted Plaintiffs’ motion for preliminary approval of the

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          Questions? Visit www.                           .com or call 1-XXX-XXX-XXXX
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Settlement with Schwab on MONTH XX, 2025, respectively.

5.      Why Is There a Settlement?
Plaintiffs and Co-Lead Counsel believe that Settlement Class Members were harmed by the merger of
Schwab and Ameritrade’s brokerage businesses. Schwab does not agree with the allegations made by the
Plaintiffs and asserts that the claims lack merit and that Schwab has meritorious defenses. Schwab believes
it would have defeated all of Plaintiffs’ claims before trial, at trial, and/or on appeal. The Court has not
decided in favor of either Plaintiffs or Schwab. Co-Lead Counsel engaged in settlement discussions with
Schwab with the assistance of a retired federal judge, the Hon. Nancy F. Atlas. Judge Atlas was appointed
by the Court to mediate the Action. As a result of the mediation process, the parties reached a negotiated
resolution of the Action. The Settlement would allow both sides to avoid the risks and costs of lengthy
litigation and the uncertainty of pre-trial proceedings, a trial, and appeals. If approved, Settlement Class
Members will receive valuable injunctive relief without releasing their individual damage claims, rather than
risk receiving nothing if the case were to proceed to trial and post-trial appeals. Plaintiffs and CoLead
Counsel believe the Settlement is fair and in the best interest of all Settlement Class Members.

As a part of the Settlement, Schwab has agreed to implement a comprehensive antitrust compliance program
to prevent antitrust violations. If the Settlement is approved, any Notice Costs, any Court awarded
attorney’s fees and litigation expenses, service awards for Plaintiffs, and any other costs or fees approved by
the Court will be paid by Schwab.

If the Settlement is approved, the Action will be dismissed. Schwab will no longer be the defendant in this
Action. If the Settlement is not approved, Schwab will remain as the defendant in the Action, and Plaintiffs
will continue to pursue their claims against Schwab.

                        WHO IS A MEMBER OF THE SETTLEMENT CLASS?

6.      How Do I Know if I Am a Settlement Class Member?
In the Preliminary Approval Orders, the Court preliminarily approved the following Settlement Class:

        All persons, entities, and corporations who are current U.S. brokerage customers of Schwab
        or any of its affiliates, including customers who previously held accounts at Ameritrade.

7.      Are There Exceptions to Being Included in the Settlement Class?
Yes. You are not included in the Settlement Class if you are: (a) the Defendant; (b) one of its employees,
officers, directors, legal representatives, heirs, successors, or wholly or partly owned subsidiaries or
affiliates; or (c) one of the judicial officers or their immediate family members or associated court staff
assigned to this case.

8.      I’m Still Not Sure if I Am Included.
If you are still not sure whether you are included, you can ask for free help. You can call toll-free 1-XXX-
XXX-XXXX (if calling from outside the United States or Canada, call 1-XXX-XXXXXXX) or visit
www.________________.com for more information.




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          Questions? Visit www.                           .com or call 1-XXX-XXX-XXXX
          (if calling from outside the United States or Canada, call 1-XXX-XXX-XXXX)
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                                    THE SETTLEMENT BENEFITS

9.      What Does the Settlement Provide?
Schwab will implement an antitrust compliance program, if the Settlement is approved. The antitrust
compliance program will be designed by an independent third-party consultant. This consultant, to be
jointly retained by the Parties, will consist of a team of attorneys from Fried, Frank, Harris Shriver &
Jacobson LLP, including Bernard A. Nigro, Jr., Aleksandr Livshits, and Nihal Patel. The third-party
consultant will consider, among other things:

        a.    Policies, practices, and procedures related to Schwab’s communications with and
among market makers and other broker-dealers;

        b.      Policies, practices, and procedures related to Schwab’s order routing and execution, including
those pertaining to Schwab’s order routing allocations and price improvement as provided by market makers
to Schwab’s retail customers who trade equities and options;

        c.     Policies, practices, and procedures applicable to Schwab’s order routing committees and
decisionmakers, including as to communications and coordination with market makers and other broker-
dealers; and

          d.      Schwab’s post-merger disclosures, reporting, statements, and other communications with
retail clients regarding transaction-related price improvement and order routing that may promote inter-brand
competition among broker-dealers.

Once the program has been designed and implemented, Schwab will certify its compliance on a yearly basis
for four years.

10.     What Am I Giving Up to Receive Injunctive Relief?
Upon the Effective Date, Schwab, Plaintiffs and all Settlement Class Members shall be deemed to have, and
by operation of the Judgment shall have, fully, finally, and forever waived, released, relinquished, and
discharged any and all injunctive, equitable, and non-monetary claims or remedies on account of, or arising
out of, or resulting from, or in any way related to, any conduct that was alleged or could have been alleged
in the Action based on any or all of the same factual predicates of the Action, including but not limited to
any claim for divestiture. Settlement Class Members are not releasing any damage or monetary claims
against Schwab or any future claims relating to enforcement of the Settlement terms. The capitalized terms
used in this paragraph are defined in the Stipulation, Preliminary Approval Order, or this Notice. For easy
reference, certain of these terms are copied below:

•       “Related Persons,” when used in reference to a Person, means (a) the Person; (b) for natural Persons,
        each of that Person’s respective immediate family members and any trust which that Person is the
        settlor of or which is for the benefit of any such Person and/or the members of his or her family, and,
        for non-natural persons, each of past, present, and future, direct and indirect corporate parents
        (including holding companies), subsidiaries, related entities and affiliates, associates, predecessors,
        and successors; and (c), for any of the entities or Persons listed at (a) or (b) above, their respective
        past, present, or future parents, subsidiaries and affiliates, and their respective directors, officers,
        managers, managing directors, partners, members, principals, employees, auditors, accountants,
        representatives, insurers, trustees, trustors, agents, attorneys, professionals, predecessors, successors,


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             (if calling from outside the United States or Canada, call 1-XXX-XXX-XXXX)
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          assigns, heirs, executors, and administrators, in their capacities as such, and any entity in which the
          Person has a controlling interest.

•         “Released Defendant’s Claims” means all claims and causes of action of every nature and description,
          whether known claims or Unknown Claims, whether arising under federal, state, local, common, or
          foreign law or regulation, by any of the Released Defendant Persons against Plaintiffs, any members
          of the Settlement Class, or any of their Related Persons, including any Co-Lead Counsel, which arise
          out of or relate in any way to the institution, prosecution, assertion, settlement, or resolution of the
          Action or the Released Claims. Released Defendant’s Claims shall not include any future claims
          relating to the enforcement of any terms of this Stipulation. For the avoidance of doubt, the release
          in this paragraph is intended to cover only litigation conduct in this Action.

•         “Plaintiffs’ Released Claims” means any and all claims, counterclaims, demands, actions, potential
          actions, suits, and causes of action, losses, obligations, damages, matters, and issues of any kind or
          nature whatsoever, and liabilities of any nature, including without limitation claims for costs,
          expenses, penalties, and attorney’s fees that the Plaintiffs ever had or now have against any of the
          Released Defendant Persons, whether arising under federal, state, local, common, or foreign law or
          regulation, whether known claims or Unknown Claims, suspected or unsuspected, asserted or
          unasserted, foreseen or unforeseen, actual or contingent, accrued or unaccrued, matured or unmatured,
          disclosed or undisclosed, apparent or unapparent, liquidated or unliquidated, or claims that have been,
          could have been, or in the future might be asserted in law or equity, on account of or arising out of or
          resulting from or in any way related to any conduct that was alleged or could have been alleged in the
          Action based on any or all of the same factual predicates of the Action, including but not limited to
          Schwab’s participation in an allegedly anticompetitive merger with Ameritrade in October 2020.
          Plaintiffs’ Released Claims shall not include any future claims relating to the enforcement of any
          terms of the Settlement. Settlement Class Members are not releasing claims for money damages
          against Schwab.

•          “Settlement Class Released Claims” means any and all injunctive, equitable and nonmonetary claims
          or remedies on account of or arising out of, or resulting from, or in any way related to, any conduct
          that was alleged or could have been alleged in the Action based on any or all of the same factual
          predicates of the Action, including but not limited to any claim for divestiture. Settlement Class
          Released Claims shall not include any damages or compensatory monetary claims or any future claims
          relating to enforcement of the terms of the Settlement.

11.        What if I Do Nothing?

    You are automatically a Settlement Class Member if you fit the Settlement Class description. You will be
    bound by past and any future Court rulings, including rulings on the Settlement and its releases. Unless
    you object, you may not oppose, in whole or in part, the terms of the Settlement.


          INABILITY TO EXCLUDE YOURSELF FROM THE SETTLEMENT CLASS

12.         What if I Do Not Want to Be in the Settlement Class?
If you are a Settlement Class Member, you may not exclude yourself from the Settlement Class. However,
you may object to the Settlement by following the procedures in this Notice.



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            Questions? Visit www.                           .com or call 1-XXX-XXX-XXXX
            (if calling from outside the United States or Canada, call 1-XXX-XXX-XXXX)
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                               OBJECTING TO THE SETTLEMENT

13.        How Do I Tell the Court What I Think About the Settlement?
If you are a Settlement Class Member, you can tell the Court what you think about the Settlement. You can
object to all or any part of the Settlement, application for attorney’s fees and litigation expenses, and any
service awards for Plaintiffs. You can give reasons why you think the Court should approve them or not.
The Court will consider your views.

If you want to make an objection, you may enter an appearance in the Action, at your own expense,
individually or through counsel of your own choice, by filing with the Clerk of Court a notice of appearance
and your objection by MONTH XX, 2025, and serving copies of your notice of appearance and objection on
Co-Lead Counsel and Schwab’s Counsel at the following physical addresses:

                 Yavar Bathaee                                      Christopher M. Burke
               Andrew Wolinsky                                         Yifan (Kate) Lv
            BATHAEE DUNNE LLP                                          BURKE LLP
             445 Park Avenue, 9th Floor                         402 West Broadway, Suite 1890
               New York, NY 10022                                   San Diego, CA 92101
                Tel: (332) 322-8835
             yavar@bathaeedunne.com                                  Tel: (619) 369-8244
           awolinsky@bathaeedunne.com                                cburke@burke.law
                                                                       klv@burke.law
                  Brian J. Dunne
               Edward M. Grauman                                           Chad Bell
             BATHAEE DUNNE LLP                                    KOREIN TILLERY LLC
            901 South MoPac Expressway                        205 N. Michigan Ave., Suite 1950
            Barton Oaks Plaza I, Suite 300                             Chicago, IL 60601
                 Austin, TX 78746                                    Tel: (312) 641-9750
                Tel: (213) 462-2772                                cbell@koreintillery.com
             bdunne@bathaeedunne.com
           egrauman@bathaeedunne.com
                                             Co-Lead Counsel
              Daniel G. Swanson                                       Veronica S. Moyé
      GIBSON, DUNN & CRUTCHER LLP                                KING & SPALDING LLP
            333 South Grand Avenue                              2601 Olive Street, Suite 2300
          Los Angeles, CA 90071-3197                                  Dallas, TX 75201
              Tel: (213) 229-7430                                    Tel: 713-276-7398
          dswanson@gibsondunn.com                                    vmoye@kslaw.com

                Jason J. Mendro
               Cynthia Richman
      GIBSON, DUNN & CRUTCHER LLP
              1700 M Street, N.W.
         Washington, D.C. 20036-5306
              Tel: (202) 955-8500
           jmendro@gibsondunn.com
          crichman@gibsondunn.com
                                             Schwab’s Counsel

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          Questions? Visit www.                           .com or call 1-XXX-XXX-XXXX
          (if calling from outside the United States or Canada, call 1-XXX-XXX-XXXX)
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Any Settlement Class Member who does not enter an appearance will be represented by Co-Lead Counsel.

If you choose to object, you must file a written objection with the Court. You cannot make an objection by
telephone or email. Your written objection must include a heading that refers to this Action by case name and
case number, and the following information: (1) name, address, and telephone number; (2) proof of
membership in the Settlement Class; (3) all grounds for the objection; (4) the name, address, and telephone
number of the Settlement Class Member’s counsel, if any; and (5) a list of other cases in which the objector
or counsel for the objector has appeared either as an objector or counsel for an objector in the last five years.
If you want to be heard at the hearing, you must say so in your written objection and also identify any witnesses
you propose to call to testify or exhibits you propose to introduce into evidence, if the Court so permits.

If you do not timely and validly submit your objection, your views may not be considered by the Court or any
court on appeal.


                               THE LAWYERS REPRESENTING YOU

14.     Do I Have a Lawyer in This Case?
The Court has appointed the lawyers listed below to represent you and the Settlement Class in this Action:

              Yavar Bathaee                                        Christopher M. Burke
        BATHAEE DUNNE LLP                                              BURKE LLP
        445 Park Avenue, 9th Floor                            402 West Broadway, Suite 1890
          New York, NY 10022                                      San Diego, CA 92101
          Tel: (332) 322-8835                                       Tel: (619) 369-8244
        yavar@bathaeedunne.com                                       cburke@burke.law

These lawyers are called Co-Lead Counsel. Co-Lead Counsel will receive any payment of attorney’s fees and
litigation expenses from Schwab. You will not be charged for Co-Lead Counsel’s services. If you want to be
represented by your own lawyer, you may hire one at your own expense.


15.     How Will the Lawyers Be Paid?
To date, Co-Lead Counsel have not been paid any attorney’s fees or reimbursed for any out-of pocket
litigation expenses. The Settlement provides that Co-Lead Counsel may apply to the Court for an award of
attorney’s fees and litigation expenses and that Schwab will pay the amount awarded by the Court. Any
attorney’s fees and litigation expenses will be awarded only as approved by the Court in amounts
determined to be fair and reasonable. Prior to the Settlement Hearing, Co-Lead Counsel will move for an
award of up to $8,250,000 in attorney’s fees, plus payment of no more than $700,000 for litigation expenses.

The Fee and Expense Application will be made collectively on behalf of all Plaintiffs’ counsel.

This is only a summary of the request for attorney’s fees and litigation expenses. Any motions in support of
the requests will be available for viewing on the Settlement Website after they are filed no later than Month
XX, 2025. After that date, if you wish to review the motion papers, you may do so by viewing them at
www.________________.com.

The Court will consider the motion for attorney’s fees and litigation expenses at the Fairness Hearing.

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          Questions? Visit www.                           .com or call 1-XXX-XXX-XXXX
          (if calling from outside the United States or Canada, call 1-XXX-XXX-XXXX)
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                             THE COURT’S SETTLEMENT HEARING

16.     When and Where Will the Court Decide Whether to Approve the Settlement?
The Court will hold the Fairness Hearing on [DATE] at [TIME] p.m. at the United States District
Court for the Eastern District of Texas, Paul Brown United States Courthouse, 101 East Pecan Street,
Sherman, Texas 75090. The Fairness Hearing may be moved to a different date or time without notice to
you. Although you do not need to attend, if you plan to do so, you should check
www.________________.com before making travel plans.

At the Fairness Hearing, the Court will consider whether the Settlement is fair, reasonable, and adequate.
The Court will also consider whether to approve the requests for attorney’s fees and litigation expenses, and
any service awards for Plaintiffs. If there are any objections, the Court will consider them at this time. We
do not know how long the Fairness Hearing will take or when the Court will make its decision. The Court’s
decision may be appealed.

17.     Do I Have to Come to the Fairness Hearing?
No. Co-Lead Counsel will answer any questions the Court may have. You are, however, welcome to come
at your own expense. If you send an objection, you do not have to come to Court to talk about it. As long as
you draft, file, and serve your written objection according to the requirements set forth above, the Court will
consider it. You may attend the Fairness Hearing personally or you may hire your own lawyer to attend and
you (or your counsel) may ask the Court to allow you to participate in the Fairness Hearing, but you are not
required to do so.

18.     May I Speak at the Fairness Hearing?
You may ask the Court for permission to speak at the Fairness Hearing. If you want to appear at the
Fairness Hearing, you may enter an appearance in the Action at your own expense, individually or through
counsel of your own choice, by filing with the Clerk of Court a notice of appearance and your objection by
MONTH XX, 2025, and serving copies of your objection on Co-Lead Counsel and Schwab’s Counsel at the
addresses set forth in in question 13. Any Settlement Class Member who does not enter an appearance will
be represented by Co-Lead Counsel.


                                 GETTING MORE INFORMATION

19.       How Do I Get More Information?
This Notice summarizes the Settlement. More details are in the Stipulation, which is available for your
review at www.XXXXXXXXXX.com. The Settlement Website also has answers to common questions
about the Settlement and other information to help you determine whether you are a Settlement Class
Member. You may also call toll-free 1-XXX-XXX-XXXX (if calling from outside the United States or
Canada, call 1-XXX-XXX-XXXX) or write to the Claims Administrator at:

                                           Notice Administrator
                                                 Address
                                     Email: ______________________

      ****Please do not contact the Court or the Clerk’s Office regarding this Notice or for
                                    additional information.****


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          Questions? Visit www.                           .com or call 1-XXX-XXX-XXXX
          (if calling from outside the United States or Canada, call 1-XXX-XXX-XXXX)
